     Case: 1:15-cv-05793 Document #: 11 Filed: 01/06/16 Page 1 of 5 PageID #:36




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

FEDERICO CANSINO, on behalf of himself, )
and all other plaintiffs similarly situated, )
known and unknown,                           )
                                             )
             Plaintiff,                      )        Case No. 15 C 5793
                                             )
      v.                                     )        Judge Marvin E. Aspen
                                             )
MILIEU DESIGN, LLC and MILIEU )                       Magistrate Judge Maria Valdez
GROUP, INC., and PETER WODARZ and )
BRIAN FRANK, individually,                   )
                                             )
             Defendants.                     )

                            DEFENDANTS’ MOTION
                   FOR APPROVAL OF SETTLEMENT AGREEMENT

       Defendants, Milieu Design, LLC, Milieu Group, Inc., Peter Wodarz and Brian Frank

(together referred to as “Defendants”), through their attorneys, seek approval of their settlement

in this lawsuit with Plaintiff, Federico Cansino (“Plaintiff”) (Plaintiff and Defendants will be

referred to as the “Parties”). This lawsuit was brought under the Fair Labor Standards Act, 29

U.S.C. § 201, et seq. (“FLSA”) and Illinois Minimum Wage Law, 820 ILCS § 105/1 et seq.

(“IMWL”). The Parties respectfully submit that the terms of the settlement are fair, reasonable,

and resolve a bona fide dispute between them. In support of their Motion, Defendants state as

follows:

       1.      On June 30, 2015, Plaintiff filed this lawsuit against Defendants alleging that they

violated the FLSA and IMWL. (Dkt. No. 1). Specifically, Plaintiff alleged that he and other

similarly situated individuals were not paid overtime wages and were not compensated for all

hours worked. Defendants deny that they violated the FLSA and IMWL.

       2.      Since the filing of the lawsuit, Defendants have produced to Plaintiff his pay

                                                1
        Case: 1:15-cv-05793 Document #: 11 Filed: 01/06/16 Page 2 of 5 PageID #:37




records, time records and other documents relating to his claims. Additionally, the Parties have

propounded and responded to written discovery.

           3.       During discovery, Plaintiff and Defendants have engaged in extensive arm’s-

length settlement negotiations privately through counsel.          The settlement negotiations have

resulted in a settlement between Plaintiff and all Defendants. The terms of settlement are

contained in the Settlement Agreement and Release, which Defendants have served upon the

Court contemporaneously with this Motion for an in camera review.

           4.       Court approval of wage settlements under the FLSA is necessary to effectuate a

valid and enforceable release of FLSA claims asserted. See Cheeks v. Freeport Pancake House,

Inc., No. 14-299-cv, 2015 WL 4664283, *6 (2d Cir. Aug. 7, 2015)1; Walton v. United Consumers

Club, Inc., 786 F.2d 303, 306 (7th Cir. 1986). Under the FLSA, employees may settle their

claims if the parties agree on the terms, and the court approves the settlement as “a fair and

reasonable resolution of a bona fide dispute over FLSA provisions.” Lynn’s Food Stores, Inc. v.

United States, 679 F.2d 1350, 1355 (11th Cir. 1982). Based upon the foregoing, Defendants

request that this Court review the Settlement Agreement and Release and approve the same.

           5.       The settlement provides relief to Plaintiff, and eliminates the inherent risks the

Parties would bear if this litigation were to continue. Given these circumstances, a presumption

of fairness should attach to the proposed settlement. See Lynn’s Food Stores, Inc., 679 F.2d at

1354 (recognizing that courts rely on the adversary nature of a litigated FLSA case resulting in

settlement as an indication of fairness).

           6.       Should Plaintiff’s claims have proceeded, regardless of whether the case would

have proceeded as a collective action under Section 216(b) of the FLSA and/or Federal Rule of

Civil Procedure 23, Plaintiff and Defendants would have completed discovery, briefed their

1
    A copy of this decision as Exhibit A.
                                                    2
     Case: 1:15-cv-05793 Document #: 11 Filed: 01/06/16 Page 3 of 5 PageID #:38




motions for class certification and/or to approve notice, potentially briefed dispositive motions

and set the matter for trial. Alternatively, due to a previous agreement between the Parties, the

Parties may have proceeded to arbitration, engaged in further discovery and proceed to an

arbitration hearing. If Plaintiff prevailed on his claims, Defendants would be faced with the

prospect of a verdict or arbitration decision against them and the obligation to pay Plaintiff’s

attorneys’ fees and costs. If Defendants prevailed, Plaintiff faced dismissal of his claims and no

recovery.

       7.      Lastly, Plaintiff’s attorneys’ fees and costs are reasonable because of the issues

presented in the case, and the amount of resources in discovery dedicated to analysis and

prosecution of Plaintiff’s claims.

       8.      For all of these reasons, this Court should conclude that the proposed settlement

reflects a fair and reasonable resolution of a bona fide dispute and approve the settlement.

       9.      The Parties have submitted an Agreed Proposed Order for the Court’s

consideration to Proposed_Order_Aspen@ilnd.uscourt.gov.

       WHEREFORE, Defendants respectfully request that this Court approve their negotiated

Settlement Agreement and Release with Plaintiff, and dismiss all of Plaintiff’s claims in this

lawsuit initially without prejudice, said dismissal to automatically convert to with prejudice on

February 11, 2016, with each party to bear its own fees and costs in accordance with the

Settlement Agreement and Release.




                                                 3
     Case: 1:15-cv-05793 Document #: 11 Filed: 01/06/16 Page 4 of 5 PageID #:39




Dated: January 6, 2016                       Respectfully submitted,

                                             MILIEU DESIGN, LLC, MILIEU GROUP,
                                             INC., PETER WODARZ and BRIAN FRANK

Antonio Caldarone                            By:    /s/Matthew P. Kellam
Matthew P. Kellam                                   One of Their Attorneys
Laner Muchin, Ltd.
515 North State Street, Suite 2800
Chicago, Illinois 60654
(312) 467-9800 / (312) 467-9479 (fax)




                                         4
     Case: 1:15-cv-05793 Document #: 11 Filed: 01/06/16 Page 5 of 5 PageID #:40




                               CERTIFICATE OF SERVICE

       Matthew P. Kellam, an attorney, hereby certifies that on January 6, 2016, he caused the

foregoing Defendants’ Motion for Approval of Settlement Agreement to be filed

electronically with the Clerk of the United States District Court for the Northern District of

Illinois, Eastern Division, by operation of the Court’s CM/ECF system and served on all counsel

of record as follows:


                                           John Billhorn
                                           Billhorn Law Firm
                                           53 West Jackson Blvd, Suite 840
                                           Chicago, Illinois, 60604
                                           jbillhorn@billhornlaw.com

                                           Meghan VanLeuwen
                                           Farmworker and Landscaper Advocacy Project
                                           33 North LaSalle Street, Suite 900
                                           Chicago, Illinois, 60602
                                           mvanleuwen@flapillinois.org

                                           Attorneys for Plaintiff



                                           /s/Matthew P. Kellam
                                           Matthew P. Kellam




                                              5
